Case 6:14-cv-00576-RBD-KRS Document 22 Filed 09/30/14 Page 1 of 2 PageID 83



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

MATTHEW CARSON,

                     Plaintiff,

v.                                                       Case No: 6:14-cv-576-Orl-37KRS

VERIZON WIRELESS PERSONAL
COMMUNICATIONS, LP,

                     Defendant.


                      ORDER OF DISMISSAL WITH PREJUDICE

       This cause is before the Court upon the Notice of Settlement filed September 29,

2014 (Doc 21) indicating that this case has settled. Accordingly, it is:

       ORDERED AND ADJUDGED:

       That the above-styled cause is hereby DISMISSED WITH PREJUDICE, subject to

the right of any party to move the Court within sixty (60) days thereafter for the purpose of

entering a stipulated form of final order or judgment; or, on good cause shown, to reopen

the case for further proceedings.      All pending motions are denied as moot and all

deadlines are terminated.

       The Clerk is hereby ordered to close this file.

       DONE AND ORDERED at Orlando, Florida this 30th day of September, 2014.
Case 6:14-cv-00576-RBD-KRS Document 22 Filed 09/30/14 Page 2 of 2 PageID 84




Copies:    Counsel of Record




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